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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                             :
In re                                                        :     Chapter 11
                                                             :
CHECKOUT HOLDING CORP, et al.,                               :     Case No. 18-12794 (KG)
                                                             :
                           Debtors.1                         :     Jointly Administered
                                                             :
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                      NOTICE OF AGENDA OF MATTERS SCHEDULED
                   FOR HEARING ON JANUARY 17, 2019 AT 11:00 A.M. (EST)2

I.       MATTERS GOING FORWARD:

1.       Motion of Debtors for (I) Authority to (A) Obtain Postpetition Senior Secured
         Financing, (B) Use Cash Collateral, (C) Grant Adequate Protection to Prepetition
         Secured Parties, (D) Grant Liens and Superpriority Claims, (E) Modify the
         Automatic Stay, and (II) Related Relief [D.I. 30; filed December 12, 2018]

         Response/Objection Deadline:                January 4, 2019 at 4:00 p.m. (EST)

         Responses/Objections Received:

         A.        Objection by the Nielsen Company (US) LLC and NC Ventures, LLC to Motion
                   of Debtors for (I) Authority to (A) Obtain Postpetition Senior Secured Financing,
                   (B) Use Cash Collateral, (C) Grant Adequate Protection to Prepetition Secured
                   Parties, (D) Grant Liens and Superpriority Claims, (E) Modify the Automatic


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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement,
LLC (9333); Catalina Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC
(9687); Cellfire Inc. (5599); Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group
Holdings Corporation (9148); PDM Holdings Corporation (5025); PDM Intermediate Holdings A
Corporation (6409); and PDM Intermediate Holdings B Corporation (3278). The Debtors’ principal
offices are located at 200 Carillon Parkway, St. Petersburg, FL 33716.
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           The January 17, 2019 hearing (the “January 17th Hearing”) will be before The Honorable
Kevin Gross at the United States Bankruptcy Court for the District of Delaware, 824 North Market Street,
6th Floor, Courtroom 3, Wilmington, Delaware 19801. Any person who wishes to appear telephonically
at the January 17th Hearing must contact COURTCALL, LLC at 866-582-6878 prior to 12:00 p.m.
(noon) (Eastern Standard Time) on Wednesday, January 16, 2019, to register his/her telephonic
appearance in accordance with the Instructions for Telephonic Appearances Effective January 5, 2005,
Revised May 11, 2018.



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                   Stay, and (II) Related Relief [D.I. 159; filed January 4, 2019] (the “Nielsen
                   Objection”)

         Related Documents:

         i.        Notice of Filing of 13 Week Budget in Connection with “Motion of Debtors
                   for (I) Authority to (A) Obtain Postpetition Senior Secured Financing, (B)
                   Use Cash Collateral, (C) Grant Adequate Protection to Prepetition Secured
                   Parties, (D) Grant Liens and Superpriority Claims, (E) Modify the Automatic
                   Stay, and (II) Related Relief” [D.I. 30] [D.I. 76; filed December 12, 2018]

         ii.       Amended Notice of Filing of Approved Budget in Connection with “Motion
                   of Debtors for (I) Authority to (A) Obtain Postpetition Senior Secured
                   Financing, (B) Use Cash Collateral, (C) Grant Adequate Protection to
                   Prepetition Secured Parties, (D) Grant Liens and Superpriority Claims, (E)
                   Modify the Automatic Stay, and (II) Related Relief” [D.I. 30] [D.I. 92; filed
                   December 13, 2018]

         iii.      Notice of Filing Confidential Debtor-in-Possession Financing Fee Letter
                   Under Seal (SEALED) [D.I. 93; filed December 13, 2018]

         iv.       Notice of Filing Confidential Debtor-in-Possession Financing Fee Letter
                   Under Seal (REDACTED) [D.I. 94; filed December 13, 2018]

         v.        Interim Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, and 507 and
                   Bankruptcy Rules 2002, 4001 and 9014 for (I) Authority to (A) Obtain Post-
                   Petition Senior Secured Financing, (B) Use Cash Collateral, (C) Grant
                   Adequate Protection to Prepetition Secured Parties, (D) Grant Liens and
                   Superpriority Claims, and (E) Modify the Automatic Stay, and (II) Related
                   Relief [D.I. 106; filed December 13, 2018]

         vi.       Notice of (A) Entry of “Interim Order Pursuant to 11 U.S.C. §§ 105, 361, 362,
                   363, 364, and 507 and Bankruptcy Rules 2002, 4001 and 9014 for (I)
                   Authority to (A) Obtain Post-Petition Senior Secured Financing, (B) Use Cash
                   Collateral, (C) Grant Adequate Protection to Prepetition Secured Parties, (D)
                   Grant Liens and Superpriority Claims, and (E) Modify the Automatic Stay,
                   and (II) Related Relief” and (B) Scheduling of a Final Hearing Thereon [D.I.
                   120; filed December 13, 2018]

         vii.      Notice of Filing of Execution Version of Credit Agreement in Connection
                   with “Motion of Debtors for (I) Authority to (A) Obtain Postpetition Senior
                   Secured Financing, (B) Use Cash Collateral, (C) Grant Adequate Protection to
                   Prepetition Secured Parties, (D) Grant Liens and Superpriority Claims, (E)
                   Modify the Automatic Stay, and (II) Related Relief” [D.I. 30] [D.I. 132; filed
                   December 17, 2018]



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         viii.     Re-Notice of Final Hearing on Connection with “Motion of Debtors for (I)
                   Authority to (A) Obtain Postpetition Senior Secured Financing, (B) Use Cash
                   Collateral, (C) Grant Adequate Protection to Prepetition Secured Parties, (D)
                   Grant Liens and Superpriority Claims, (E) Modify the Automatic Stay, and
                   (II) Related Relief” D.I. 30] [D.I. 163; filed January 7, 2019]

         ix.       Notice of Filing of Proposed Form of “Final Order Pursuant to 11 U.S.C. §§
                   105, 361, 362, 363, 364, and 507 and Bankruptcy Rules 2002, 4001 and 9014
                   for (I) Authority to (A) Obtain Post-Petition Senior Secured Financing, (B)
                   Use Cash Collateral, (C) Grant Adequate Protection to Prepetition Secured
                   Parties, (D) Grant Liens and Superpriority Claims, and (E) Modify the
                   Automatic Stay, and (II) Related Relief” [D.I. 210; filed January 14, 2019]
                   (“Notice of Filing of Proposed Order”)

         Status: The Debtors have fully resolved the Nielsen Objection and remain in
                 discussions with certain other parties-in-interest concerning certain issues
                 wholly unrelated to the Nielsen Objection as set forth in greater detail in the
                 Notice of Filing of Proposed Order. The hearing on this matter will go
                 forward.

2.       Motion of Debtors for Entry of an Order Authorizing the Filing Under Seal of the
         Proposed Debtor-in-Possession Financing Fee Letter [D.I. 95; filed December 13,
         2018]

         Response/Objection Deadline:          January 4, 2019 at 4:00 p.m. (EST); extended to
                                               January 9, 2019 at 10:00 a.m. (EST) for the Office
                                               of the United States Trustee for the District of
                                               Delaware (the “U.S. Trustee”) only

         Responses/Objections Received:

         A.        Informal comment from the Office of the United States Trustee

         Related Documents:

         i.        Notice of Filing Confidential Debtor-in-Possession Financing Fee Letter
                   Under Seal (SEALED) [D.I. 93; filed December 13, 2018]

         ii.       Notice of Filing Confidential Debtor-in-Possession Financing Fee Letter
                   Under Seal (REDACTED) [D.I. 94; filed December 13, 2018]

         Status: The Debtors have resolved the informal comments received from the U.S.
                 Trustee in connection with this matter. The hearing on this matter will go
                 forward on an uncontested basis.




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Dated: January 15, 2019
       Wilmington, Delaware
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                                      Jason M. Madron (No. 4431)
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                                      - and -

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